AO 91 (Rev. 1 a) Criminal Complaints oa. mnt I Bled ogostty Page 1 of Gist

 

 

 

 

 

 

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United States District Court
OEP — 5 2017 |
NORTHERN DISTRICT OF ___| TEXAS
UNITED STATES OF AMERICA |

 

  

V. COMPLAINT

BYRON KEITH RISER CASE NUMBER: 3'| 7- WIJ- 637- BN

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief. Between on or about July 13, 2017, and on or about August
22, 2017, in the Dallas Division of the Northern District of Texas, defendant BYRON KEITH
RISER did,

knowingly possess with intent to distribute narcotics
In violation of Title 21, United States Code, Section(s) 841(a)(1)

I further state that I am a police officer with the Dallas Police Department and that this
complaint is based on the following facts:

See attached Affidavit of Detective Kevin Whitworth # 7889 which is incorporated and
made a part hereof by reference.

Continued on the attached sheet and made a part hereof: XX Yes No

 

 

Sieheiare of Complainant
Kevin Whitworth # 7889
Dallas Police Department

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Sworn to before me and subscribed in my presence, on this day of September, 2017, in
Dallas, Texas.

DAVID L. HORAN
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer “Signature of Judicial Officer

 

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Kevin Whitworth, a Police Officer with the Dallas Police Department, being duly
sworn, deposes and states:

1. [have been employed as a certified peace officer commissioned by the Dallas
Police Department for approximately seventeen and a half years. I have been assigned to
the Narcotics Division since November, 2013. I hold a master peace officer’s license from
the Texas Commission on Law Enforcement (TCOLE).

2. I am an “investigative or law enforcement officer of the United States”
within the meaning of 18 U.S.C. § 2510(7); that is, 1 am an officer of the United States who
is authorized by law to conduct investigations and make arrests for offenses enumerated in
18 U.S.C. § 2516.

3. Because this affidavit is offered for the limited purposes of supporting a
criminal complaint charging BYRON KEITH RISER with a violation of 21 U.S.C.
§ 841(a)(1), that is Possession with Intent to Distribute Narcotics. This complaint does not
include all facts known to me regarding this investigation.

PROBABLE CAUSE

4. On July 13, 2017 at 10:48PM, I and Detective J. Darst # 7898 utilized a
Department of Public Safety Confidential Informant and directed the Confidential
Informant to 904 North Marsalis # A, Dallas, Dallas County, Texas. The confidential
Informant purchased approximately 12.4 grams of Marijuana from BYRON KEITH
RISER. I personally field-tested the marijuana which had positive results for the presence

of THC witnessed by Sgt. T. Laidacker # 9252. The evidence was placed in the Baylor

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Street Property Room on Drug Evidence Tag # 099319D and documented on Case #
159455-2017.

5. On August 8, 2017 at 4:30PM, I and Detectives J. Darst # 7898 and T. Europe
# 8987 utilized a Confidential Informant and directed the Informant to 904 North Marsalis
Avenue # A, Dallas, Dallas County, Texas. The Confidential Informant purchased
approximately 0.2 grams of crack cocaine and approximately 6.4 grams of marijuana from
(2) Latin females from inside the residence. I conducted a field test of the cocaine and
marijuana which showed positive results for cocaine and THC witnessed by Sgt. B. Adams
# 6029. The evidence was placed in the Baylor Street Property Room on Drug Evidence
Tag # 101110D and documented on Case # 180554-2017.

6. On August 17, 2017 at 12:35PM, I and Detective T. Europe # 8987 utilized
a Confidential Informant and directed the Informant to 904 North Marsalis Avenue # A,
Dallas, Dallas County, Texas. The Confidential Informant purchased approximately 2.8
grams of marijuana from BYRON KEITH RISER. I conducted a field test of the
marijuana which showed positive results for the presence of THC witnessed by Sgt. D.
Avalos # 7440. The evidence was placed in the Baylor Street Property Room on Drug
Evidence Tag # 096586D and documented on Case # 187859-2017.

t On August 22, 2017 at 4:30PM, I and Detective J. Darst # 7898 executed a
no knock Narcotics Search Warrant at 904 North Marsalis Avenue # A, City of Dallas,
Dallas County, Texas signed by the honorable Dallas County District Court Judge Brandon

Birmingham in the 292" Criminal District Court.

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8. Upon approach to the residence, BYRON KEITH RISER was detained in
the courtyard of the apartment complex and told Detective J. Darst # 7898 that he resides
at the apartment located at 904 North Marsalis Avenue # A in Dallas, Texas.

9. The residence was secured after the Texas Department of Public Safety
Special Agents performed the tactical entry. I, along with Detectives J. Darst #7898, M.
Rangel # 6247, M. Rickerman # 8184, D. Heter # 8590, J. Martinez # 5284, J. Cerda #
7044 and Sgt. D. Avalos # 7440 processed the residence for evidence and photographed all
evidence.

10. Detective Rangel recovered baggies of Methamphetamine, powder cocaine,
crack cocaine, tar heroin, marijuana, bottles of unknown pills and $59.00 in U.S. Currency
from the living room.

11. A wallet containing a Texas photo identification card, social security card
and debit card belonging to BYRON KEITH RISER was recovered by Detective Rangel
in the living room.

12. A Colt, government model MKIV/Series 70, 45 Caliber Pistol bearing serial
number 05377G70, a pistol magazine and (7) live rounds was recovered by Detective
Rangel underneath a couch in the living room area in close proximity to where the
packaged narcotics was recovered.

13. Detective Martinez recovered a large gallon size baggie containing
individually packaged baggies of crack cocaine and a baggie containing a large amount of

black tar heroin was recovered from a brown leather jacket pocket inside the hallway closet.

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14. A digital scale was recovered by Detective Herat and Martinez in the
bedroom.

15. Additional boxes of ammunition, paperwork and additional evidence was
recovered throughout the residence.

16. The Narcotics evidence was taken to the Narcotics Division located at 1400
South Lamar Street, Dallas, Texas and processed. Detective Cerda conducted a
presumptive field test of the heroin which showed positive results for the presence of heroin
witnessed by Sgt. Avalos. Detective Rangel weighed the Heroin evidence. The weight of
the heroin and packaging weighed approximately 8.0 grams. The weight of packaging
weighed approximately 1.6 grams. The weight of Heroin without packaging was
approximately 6.4 grams.

17. Detective Cerda conducted a presumptive field test of the methamphetamine
which showed positive for the presence of methamphetamine witnessed by Sgt. D. Avalos
# 7440. Detective Rangel weighed the methamphetamine evidence. The weight of
methamphetamine with packaging weighed approximately 3.8 grams. The weight of
packaging weighed approximately 1.2 grams. The weight of methamphetamine without
packaging was approximately 2.6 grams.

18. Detective Cerda conducted a presumptive field test of the Cocaine evidence
which showed positive for the presence of cocaine witnessed by Sgt. D. Avalos # 7440.
Detective Rangel weighed the evidence. The weight of the cocaine with packaging
weighed 29.7 grams. The weight of packaging weighed approximately 6.7 grams. The

weight of the cocaine without packaging weighed approximately 23.0 grams.

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19. The listed firearm was examined by Special Agent Scott Satcher (ATF). It
was determined that the firearm traveled in interstate Nexus.

20. I have worked in the Dallas Police Department Narcotics Division for
approximately nine years and through training and experience know that drug traffickers
keep weapons at drug distribution locations to protect their money and narcotics from being
“robbed” from them and for that of intimidation purposes.

CONCLUSION

21. Based on the foregoing facts, probable cause exists to believe that BYRON

KEITH RISER possessed with intent to distribute narcotics, which is a violation of 21

U.S.C. § 841(a)(1).

 

Detective Kevin Whitworth # 7889
Dallas Police Department
Narcotics Division

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Subscribed and sworn to before me on this the

day of September, 2017.

 

 

HON. DAVID L. HORAN
UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF TEXAS

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